                                                                          IN THE
                                                               UNITED STATES DISTRICT COURT
                                                                         FOR THE
                                                               WESTERN DISTRICT OF VIRGINIA

LINiTED STATES OF AMERICA                                                                      ) PETITION FOR WRIT OF HABEAS
                                                                                               ) CORPUS AD PROSEQUENDUM
                                                                                               )
                                                                                               )                  Criminal No. 3:18-CR-1                  1


                                                                                               )
JAMES ALEX FIELDS JR                                                                           )

        Your petitioner, United States of America, by Christopher Kavanaugh, Assistant United
States Attomey for the Westem District of Virginia, respectfully shou,s:
        1 . That this case is a prosecution upon an indictment charging Title l8 U.S.C. $

245(bX2XB), 18 U.S.C. $ 249(a)(1), l8 U.S.C. $ 3591, and l8 U.S.C. $.3s92.
        2. That the presence ofthe said defendant before the United States Magistrate Court for
the Westem District of Virginia at Charlottesville, Virginia, scheduled for an initial appearance
on July 5, 2018 at 3:00 p.m. is necessary and he is now in custody of Albemarle-Charlottesville
Regional Jail, Charlottesville, Virginia 22902.
        WHEREFORE, your petitioner prays that a Writ Of Habeas Corpus Ad Prosequendum be
issued to the United States Marshal for the Western District of Virginia, or Special Agent Philipp
Alhusen and another deputized agent, who shall bring the defendant belore the Court at the
above time and place.


Dated: 6/29118
                                                                                              Assis                i United                    Attornev
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TO: Albemarle-Chalottesville Regional Jail, 160 Peregory Lane, Charlottes ville, Y irginia 22902
           (434) 977 -6981

      IN THE EVENT THIS INMATE IS TO BE TRANSFERRED TO ANOTHER
FACILITY BEFORE THE REQUESTED DATE OF APPEARANCE, PLEASE NOTIFY THE
ASSISTANT U.S. ATTORNEY LISTED ABOVE AT (434)293-4283.

GREETINGS:

       WE COMMAND YOU that you surrender the body of JAMES ALEX FIELDS JR
detained in the Albemarle-Charlottesville Regional Jail, under your custody as it is said, to the
United States Marshal for the Westem District of Virginia, or Special Agent Phitipp Alhusen and


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another deputized agent, who shall bring the defendant before the Court at the above time and
place, to the end that his body will be before the United States Magistrate Court for the Westem
District of Virginia, at Charlottesville, Virginia, on the 5th day of July, 2018, at 3:00 p.m., or at
such other time or times as the Magistrate Court may direct.
              ENTER:             This                   dav ofJune 2018.



                                                                                                      United States Magistrate Judge
*:i.,t * j. r( *,r * *,t * ,t,fi '! +,t {.:t   ,t   {<,t*   *** **:t *)t:} * *,t ,} {<***** *** * * * *** *** ****** **+ *,} *.:}*r. {. *,1. *.,r**+:t
              TO THE UNITED STATES MARSHAL FOR THE WESTERN DISTRICT
              OF VIRGINIA, OR FBI SPECIAL AGENT PHILIPP ALHUSEN AND ANOTHER
              DEPUTIZED ACENT:

              TO EXECUTE:

       WE COMMAND that you proceed to the Albemarle-Charlottesville Regional Jail and
remove therelrom the body of JAMES ALEX FIELDS JR and produce him under safe and
secure conduct before the United States Magistrate Court for the Westem District of Virginia, at
Charlottesville. Virginia. on the 5th day of July,20l8, at 3:00 p.m., or at such other time or
times as the Magistrate Court may direct.


                                                                                                    JULIA C. DUDLEY
                                                                                                    CLERK OF COURT

                                                                                                     BY:
                                                                                                               Deputy Clerk
CUSTODY ASSUMED:

EXECUTED this                    _                   day of      _,      2018.


                            BY:
                                          United States Marshal/Deputy
RETURNED:

EXECUTED this                                          day     of        , 2018.


                            I]Y
                                           United States Marshal/Deputy

SENTENCED STATE                                PRISONER: No

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